      Case 3:18-cv-01630-RNC Document 68 Filed 12/12/19 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

 NICOLE JOHNSON, individually and on                      CIVIL NO.       ~    !~;:
 behalf of all other similarly situated                   3:18-CV-01630 (RNS)
                                                                                _J
 individuals,

 PLAINTIFF,

 v.

 TOTAL LOOK SALON & SPA and CHER
 ANDERSON,

 DEFENDANTS.

                              FINAL ORDER APPROVING
                             CLASS ACTION SETTLEMENT

       Before the Court is Plaintiff's Unopposed Motion for Order of Final Approval of a

Rule 23 Class Action Settlement. Defendants do not oppose Plaintiffs motion. For good

cause shown, and as more fully explained below, the motion is GRANTED , the

Agreement is APPROVED, and this Civil Action is DISMISSED WITH PREJUDICE.

1.     The Court preliminarily approved the settlement agreement that is the subject of

this motion (the "Agreement") by order entered on September 4, 2019 (the "Rule 23

Preliminary Approval Order") (Docket No. 60.). A copy of the Agreement was attached

to Plaintiff's motion for preliminary approval as an exhibit, and it is incorporated in this

Order by reference. The terms used in this Final Approval Order shall have the same

meaning as they are defined in the Agreement.

2.     On   /Z-f ",/11 , the   Court conducted a Fairness Hearing to consider final

approval of the Agreement. The Court has considered all matters submitted to it at the

Fairness Hearing and otherwise, the pleadings on file, the applicable law and the record.

3.     Final Certification of the Rule 23 Class. The Court finds that the proposed Rule 23

                                        Page 1 of 4
      Case 3:18-cv-01630-RNC Document 68 Filed 12/12/19 Page 2 of 4




Class, as defined in the Agreement, meets the requirements of Rule 23(a) and Rule

23(b)(3) of the Federal Rules of Civil Procedure. Accordingly, for settlement purposes

only, the Court certifies the Rule 23 Class consisting of the following: all individuals who,

at any time during the period between September 27, 2016 and September 27, 2018,

were employed by Defendants as Master Stylists, Senior Stylists, Stylists or Assistant

Stylists.   The Parties agreed upon a list of those individuals who are designated, for

settlement purposes only, as Rule 23 Class Members, which is attached to the Agreement

as Exhibit A. (Docket No. 59, Exhibit 1.)

4.      Class Representative. For purposes of settlement, the Court approves Named

Plaintiff, Nicole Johnson, as the Class Representative.

5.      Class Counsel. The Court conditionally appoints as Class Counsel for the Rule 23

Class Gary Phelan, Mitchell & Sheahan, P.C., 80 Ferry Blvd., Suite 216, Stratford, CT

06615. Named Plaintiff may file a separate Petition for Attorney's Fees and Costs in

accordance with Section 4.7 of the Agreement. The Court will enter a separate order

adjudicating Named Plaintiffs Petition for Attorney's Fees and Costs.

6.      Approval of the Agreement. The Court approves the Agreement and finds that it

is a reasonable compromise of the claims of the Rule 23 Class Members. The Agreement

is fair, just, reasonable and adequate to, and in the best interest of, the Ruler 23 Class

Members. It achieves a definite and certain result for the benefits of the Rule 23 Class

Members that is preferable to continuing litigation in which the Rule 23 Class Members

would necessarily confront substantial risk (including risk of non-certification of a class

and the risk of loss), uncertainty, delay and cost. This Order constitutes final approval of

the Agreement. The Agreement is binding on the Parties to it and on all members of the



                                        Page 2 of 4
      Case 3:18-cv-01630-RNC Document 68 Filed 12/12/19 Page 3 of 4




Rule 23 Class exception only those individuals, if any, who excluded themselves from the

Class in accordance with the terms of the Agreement.

7.     Notice to the Rule 23 Class.      The Court determines that notice was given as

required by the Rule 23 Preliminary Approval Order. The Court finds that the notice given

of the proposed settlement was the best practical notice under the circumstances and

provided the Rule 23 Class Members with fair and adequate notice of the terms of the

Agreement and the Fairness Hearing, and of their rights to exclude themselves from the

class or to object to the settlement. The Court finds the Notice satisfied the requirements

of Rule 23 of the Federal Rules of Civil Procedure.

8.     The Court finds that the Agreement: (a) is fair to all parties; (b) reasonably resolves

a bona fide disagreement between the Parties with regard to the merits of the claims of

the Named Plaintiff and the Rule 23 Class Members; and (c) demonstrates a good faith

intention by the Parties that these claims by fully and finally resolved, not subject to

appellate review, and not re-litigated in whole or in part at any point in the future. The

Court, therefore, approves the Agreement, including its release of claims.

9.     By operation of the Agreement and this Final Approval Order, and except as to

such rights or claims as may be created by the Agreement or those non-waivable by law,

Named Plaintiff and all Participating Rule 23 Class Members are hereby irrevocably and

unconditionally deemed to have forever and fully released Defendants and all Released

Parties from any and all Released Claims. The Named Plaintiff and the Participating Rule

23 Class Members are forever barred from bringing or presenting any action or

proceeding against Defendants or any of the Released Parties that involve or assert any

of the Released Claims.



                                         Page 3 of 4
      Case 3:18-cv-01630-RNC Document 68 Filed 12/12/19 Page 4 of 4




10.    The Agreement shall be administered in accordance with its terms.           Without

affecting the finality of this judgment, the Court reserves jurisdiction over the

implementation, administration, and enforcement of this judgment and the Agreement and

all matters ancillary to the same.

11.    The Agreement reflects a compromise of disputed claims . The findings and rulings

in this Final Approval Order are made for the purposes of settlement only. Nothing in this

Agreement or this Final Approval Order, or in any ancillary documents, actions,

statements, or filings made in furtherance of settlement, shall be deemed as admissible

or used as evidence (or as an admission of) liability by Defendants or any of the Released

Parties, or of any fault or wrongdoing whatsoever, or as evidence that (or as an admission

that) this action may proceed as a class action under Rule 23 of the Federal Rules of Civil

Procedure for any purpose other than settlement.

12.    This Civil Action is DISMISSED WITH PREJUDICE.

So ordered.



                                                  /s/ RNC

                                          Robert N. Chatigny
                                          United States District Judge




                                        Page 4 of 4
